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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_________________________________________________

JAMES M. WEST (89-A-6906),

                      Plaintiff,                                    NOTICE OF MOTION

              v.                                                    Case No. 05-cv-447

NEW YORK STATE DEPARTMENT OF
CORRECTIONS AND COMMUNITY
SUPERVISION,

                  Defendant.
_________________________________________________


              PLEASE TAKE NOTICE that, upon the declaration of Daniel R. Maguire,

sworn to January 9, 2018, with exhibits attached thereto, Plaintiff will move this Court

before the Hon. Frank P. Geraci, Jr., Chief United States District Judge, at the United States

Courthouse, 2 Niagara Square, in Buffalo, New York, on January 16, 2018, or at such time

and date as the Court shall direct for an order:

              1.      Striking Defendant’s affirmative defense that Plaintiff failed to exhaust

his administrative remedies; and

              2.      Granting such other and further relief as the Court deems just and

proper.
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Dated: Buffalo, New York                          PHILLIPS LYTLE LLP
       January 9, 2018
                                                  By: /s/ Daniel R. Maguire_______
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                                                         Daniel R. Maguire
                                                         James E.B. Bobseine
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